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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA
                                    Richmond Division

ROBERT TREPETA,                                       :
On behalf of himself and all                          :
other similarly situated individuals,                 :
                                                      :
        Plaintiff,                                    :
                                                      :       Civil Action No. 3:19-cv-181
v.                                                    :
                                                      :
CAPITAL ONE FINANCIAL CORPORATION                     :
                                                      :
                Defendant.                            :

                     NOTICE OF DISMISSAL WITHOUT PREJUDICE

        Plaintiff Robert Trepeta, by counsel, hereby notifies this Honorable Court of his dismissal

of this action without prejudice pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i) in that no party has yet

filed an Answer or a Motion for Summary Judgment.



                                              Respectfully submitted,
                                              ROBERT TREPETA

                                              ___________/s/________________
                                              Matthew J. Erausquin, VSB #65434
                                              Leonard A. Bennett, VSB #37523
                                              Tara B. Keller, VSB #91986
                                              Consumer Litigation Associates
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                                              Counsel for the Plaintiff
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                                CERTIFICATE OF SERVICE


       I hereby certify that on the 20th day of March, 2019, I will serve a copy of the foregoing

on the following Defendant via First Class Mail:


                      CAPITAL ONE FINANCIAL CORPORATION
                      c/o Corporation Service Company
                      100 Shockoe Slip, 2nd Floor
                      Richmond, VA 23219



                                             ___________/s/________________
                                             Matthew J. Erausquin, VSB #65434
                                             Leonard A. Bennett, VSB #37523
                                             Tara B. Keller, VSB #91986
                                             Consumer Litigation Associates
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                                             Email: lenbennett@clalegal.com
                                             Email: tara@clalegal.com

                                             Counsel for the Plaintiff
